                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                          October 27, 2024
                           UNITED STATES BANKRUPTCY COURT                                 Nathan Ochsner, Clerk

                               SOUTHERN DISTRICT OF TEXAS

                                      HOUSTON DIVISION

In re                                                 Chapter 11

Refreshing USA, LLC,                                  Case No. 24-33919 (JPN)

                       Debtor.

Tax I.D. No. XX-XXXXXXX

In re                                                 Chapter 11

Water Station Management LLC,                         Case No. 24-33924 (JPN)

                       Debtor.

Tax I.D. No. XX-XXXXXXX

In re                                                 Chapter 11

Creative Technologies, LLC,                           Case No. 24-33934 (EVR)

                       Debtor.

Tax I.D. No. XX-XXXXXXX


                  ORDER (1) DIRECTING JOINT ADMINISTRATION
         OF THE CHAPTER 11 CASES AND (2) GRANTING RELATED RELIEF
                                       (ECF No. 80)
                                            1
        Upon the emergency motion (“Motion”) of the above-captioned debtors and debtors in

possession (collectively, “Debtors”) for entry of an order (“Order”), (a) directing the joint

administration of Debtors’ Chapter 11 cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. § 1334; and the Court having found that this is a core proceeding



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in
the Motion.



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pursuant to 28 U.S.C. § 157(b); and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. § 1408;

and the Court having found that the relief requested in the Motion is in the best interests of

Debtors’ estates, their creditors, and other parties in interest; and the Court having found that

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and the Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before the Court, if any; and the Court having determined that the legal and factual bases set

forth in support of the Motion establish just cause for the relief granted herein; and upon all of

the proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor,

       IT IS HEREBY ORDERED that:

       1.      The above-captioned Chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under the case of Refreshing USA, LLC,

et al., Case No. 24-33919 (JPN). All of the jointly administered cases are assigned to Judge

Jeffrey P. Norman

       2.      Additionally, the following checked items are ordered:

               a.      x One disclosure statement and plan of reorganization may be filed for all
                       ☐

of the cases by any plan proponent.

               b.      x Parties may request joint hearings on matters pending in any of the
                       ☐

jointly administered cases.

               c.      ☐ Other: See below.




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         3.      The caption of the jointly administered cases will read as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re                                                Chapter 11

 Refreshing USA, LLC,                                 Case No. 24-33919 (JPN)
                                                      (Jointly Administered)
                          Debtors2.

         4.      The foregoing caption satisfies the requirements set forth in Section 342(c)(1) of

the Bankruptcy Code.

         5.      A docket entry, substantially similar to the following, shall be entered on the

dockets of each Debtors, other than Refreshing USA, LLC, to reflect the joint administration of

these Chapter 11 cases:

              An order has been entered in accordance with Rule 1015(b) of the
              Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the Local
              Rules of Bankruptcy Practice and Procedure of the United States
              Bankruptcy Court for the Southern District of Texas directing joint
              administration for procedural purposes only of the Chapter 11 cases of:
              Refreshing USA, LLC, Case No. 24-33919; Water Station Management
              LLC, Case No. 24-33924; and Creative Technologies, LLC, Case
              No. 24-33934. The docket in Case No. 24-33919 should be consulted
              for all matters affecting this case. All further pleadings and other papers
              shall be filed in, and all further docket entries shall be made in, Case
              No. 24-33919. Debtors shall maintain, and the Clerk of the Court shall
              keep, one consolidated docket, one file, and one consolidated service list
              for these Chapter 11 cases. Nothing contained in the Motion or this
              Order shall be deemed or construed as directing or otherwise effecting a
              substantive consolidation of these Chapter 11 cases, and this Order shall



2 Debtors and debtors in possession these Chapter 11 cases (“Bankruptcy Case(s)”), along with
the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.



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             be without prejudice to the rights of Debtors to seek entry of an order
             substantively consolidating their respective cases.

        6.      Notice of the Motion as set forth therein shall be deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.

        7.      Notwithstanding any Bankruptcy Rule or Bankruptcy Local Rule to the contrary,

the terms and conditions of this Order are immediately effective and enforceable upon its entry.

        8.      Debtors and the Clerk of the Court are authorized to take all actions necessary to

effectuate the relief granted in this Order.

        9.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                             October  27,2018
                               April 04,  2024
                                                 UNITED STATES BANKRUPTCY JUDGE
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